                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                              Plaintiff,        )
                                                )
       v.                                       )
                                                )   CASE NO. 07-00252-01-CR-W-NKL
JEANETTE ALEXANDER,                             )
                                                )
                              Defendant.        )


                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge John T.

Maughmer, to which no objection has been filed, the pleas of guilty to Counts 1 and 5 of the

Indictment are now accepted. Defendant is adjudged guilty of such offenses. Sentencing will be set

by subsequent order of the court.


                                                     s/ NANETTE K. LAUGHREY
                                                    NANETTE K. LAUGHREY
                                                    United States District Judge

Kansas City, Missouri
September 23, 2008




       Case 4:07-cr-00252-NKL          Document 219       Filed 09/23/08     Page 1 of 1
